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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                               :
  PETER BISTRIAN,                              :
                                               :
                         Plaintiff,            :
                                               :         Civil Action No. 08-cv-3010 (CMR)
                 v.                            :
                                               :
  WARDEN TROY LEVI, FDC                        :
  PHILADELPHIA, et al.,                        :
                                               :
                         Defendants.           :
                                               :


                             WITHDRAWAL OF APPEARANCE


       Kindly withdrawal the appearance of Paul W. Kaufman as co-counsel for the United

States in the above captioned matter.


                                                   Respectfully submitted,

                                                   JACQUELINE C. ROMERO
                                                   United States Attorney



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Date: October 13, 2022
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                               CERTIFICATE OF SERVICE


       I, Paul W. Kaufman, certify that I have on this date filed the foregoing Withdrawal of

Appearance electronically and it is available for viewing and downloading from the ECF System.




                                                 PAUL W. KAUFMAN
                                                 Assistant United States Attorney
 Dated: October 13, 2022
